Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 1 of 16 PageID #:22




  May 28, 2021

  JASON KILBORN
  Sent electronically to jkilborn@uic.edu

                                                      PERSONAL AND CONFIDENTIAL

  Regarding Case Number: 2020105601




  Dear Jason,

  Please see attached finding letter.

  Sincerely,




  Donald Kamm
  Director - OAE and Title IX Coordinator

  CC:    Caryn Bills, Associate Chancellor, Office for Access and Equity
         Ashley Davidson, Title IX and Equity Compliance Specialist, Office for Access
         and Equity
         Darby Dickerson, Dean, UIC John Marshall Law School




                                        EXHIBIT "A"
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 2 of 16 PageID #:23


     May 28, 2021

     Jason Kilborn
     Via Email Only at jkilborn@uic.edu

     Dear Professor Kilborn:

     The Office for Access and Equity (OAE) has concluded the investigation into Anthony
     Jackson’s and other non-White students’ allegations of race-based discrimination and
     harassment against you.

     OAE received and reviewed reports that you have engaged in discriminatory conduct and
     have created a racially hostile environment for Mr. Jackson and other non-White law
     students between January 2020 and January 2021, particularly during your Civil Procedure
     II (“Civ Pro II”) course. The allegations brought to our attention include:

     Discrimination

            Two JMLS community members allege you discriminated against Mr. Jackson by
             dropping him from the Spring 2020 Civ Pro II course and refused to re-add the
             student to the course based on his race.

            Four JMLS community members allege you imposed a discriminatory in-person
             participation grade bump policy during the Fall 2020 semester that precluded Black
             students who could not attend live classes due to COVID restrictions and
             precautions from receiving the extra points.

     Harassment

     Six students and one faculty member reported that you engaged in race-based harassment
     of students between January 2020 and January 2021 as follows:

          During a January 23, 2020 lecture in the Civ Pro II course, you allegedly: (1)
             referred to racial minorities as “cockroaches” and denounced racial minorities’
             participation in civil rights claims as part of discussion of modern day extortion
             theory; and (2) referred to media stories that expose the negative behavior of White
             men as “lynching,”

          During other Civ Pro II class sessions during the Spring 2020 semester, you
             allegedly: (1) engaged in racially biased conduct toward non-White students when
             discussing topics about Black, Latinx, or Middle Eastern culture; and (2)
             diminished or dismissed the perspectives of an African female student because of
             her races as a Black woman and based on her accent.

          In a December 2020 exam in the Civ Pro II course, you included a question
             regarding the work product doctrine that used the abbreviated epithets “N_____”
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 3 of 16 PageID #:24




             and “B_____” that students (particularly non-White students) reported had a
             negative impact on an intense emotional level during the exam.

            After learning of a December 24, 2020 letter (referred to as the Black Law Students
             Association letter or “BLSA Letter”) signed by various students that raised
             concerns about the exam question, you allegedly: (1) emailed a student who had
             signed the BLSA Letter indicating that you were “disappointed” in her for signing
             the letter and that she should not “bite the hand that feeds her”; and (2) on January
             7, 2021, during a video conversation with another student who had signed the
             BLSA Letter, made a threatening statement about how the Dean knew you would
             have become “homicidal” if you had read the BLSA Letter.

     During the investigation, OAE interviewed you, Mr. Jackson, and other anonymous JMLS
     community members. OAE also obtained and reviewed additional relevant documentation,
     including recordings of class sessions during the Spring 2020 semester. Based on such
     information, the factual circumstances surrounding these allegations were reviewed to
     determine whether, by a preponderance of the evidence, the alleged conduct violated Policy
     1100-004, Nondiscrimination Statement (“Policy”) for the University of Illinois Chicago,
     which seeks to protect members of the University community from, among other things,
     race-based discrimination or harassment. The Policy is broader than applicable law, which
     means that discriminatory or harassing conduct may violate the Policy even where the
     conduct does not rise to the level of a violation of law. Thus, the University seeks to
     prevent and address situations where conduct by any member of the University community,
     because of issues of race, unreasonably interferes with a student’s participation in an
     academic program.

     After a thorough review of all documentation and information provided to our office, OAE
     does not substantiate that you engaged in discriminatory conduct when you dropped Mr.
     Jackson from the Spring 2020 Civ Pro II Course or when you imposed a participation grade
     bump policy for the Fall 2020 course. Instead, the evidence substantiated that your efforts
     either (i) sought to address attendance issues in ways that were even-handedly applied to
     students of different races or (ii) sought to encourage student participation during class
     sessions in ways that did not have a disparate impact on students based on race.

     However, the evidence reviewed does substantiate that your conduct, considered
     cumulatively and particularly with respect to the manner of your responses to criticism of
     the final exam question, was sufficiently substantial and repeated that it interfered with
     Black students’ participation in the University’s academic program and therefore
     constituted harassing conduct that violates the Policy. In particular, it is substantiated that:

             (1) you made multiple, inappropriate, racially-charged comments over the course
             of one hour during the January 23, 2020 class. This includes your making
             references to “cockroaches” and “lynching"; your using African-American
             Vernacular English (“AAVE”) accent when referencing a Black artist’s lyrics; and,
             when confronted by a Black student during the class because the student viewed


                                                                             Page 2 of 4– Jason Kilborn
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 4 of 16 PageID #:25




             these comments as overgeneralizing references to minorities, you referenced your
             own “implicit bias” as some type of justification;

             (2) you used an exam question during the Spring 2020 semester and the December
             2020 semester that included explicit (abbreviated) reference to a racial epithet;1

             (3) when you learned that student groups had lodged written objections to the exam
             question in late December 2020, you responded in early January expressing anger
             and displeasure with students’ objections in a manner that created retaliation
             concerns for Black students with a January 4, 2021 email that verbally chastised a
             student for signing the BLSA Letter that you referred to as a “horrible, horrible
             letter,” an “attack letter,” that was “vicious” and “cruel,” and that led you to feel
             and to write that your “hand of help had been bitten off,” and

             (4) likewise, in comments during a January 7, 2021 Zoom meeting to another
             student who had signed the BLSA Letter, you referred to students expressing
             dissent as “enemies,” twice stated that the student in that meeting was accusing you
             of being a “liar,” articulated your desire to go after people who “come at me,” and
             discussed the concept that you might become “homicidal” because of the BLSA
             Letter.

     During this investigation, you acknowledged much of this conduct, including referencing
     “lynching” during class (which you said you apologized for immediately), using the exam
     question at issue, sending the January 4, 2021 email, and referencing the term “homicidal”
     during the January 7, 2021 Zoom meeting with a Black student. You disputed other aspects
     of these allegations, including not emailing anyone about “biting the hand that feeds you."
     You also claimed that your “homicidal” comment was made as a joke; did not seek to
     articulate your own state of mind but, rather, that of the Dean; and could not reasonably be
     viewed as threatening. Such explanations were considered but viewed as unpersuasive for
     various reasons. Because the January 4 email and January 7 Zoom meeting were
     addressing the BLSA Letter’s criticism of your racially-charged exam question (to
     signatories of that letter), your comments expressing anger, dissatisfaction, and
     disappointment related to issues of race and created fear and intimidation that were
     reasonably interpreted as such. And, while each such communication involved one student
     at the time of the particular email or Zoom meeting, the focus of such comments was upon
     a broader group of people – those who had signed the BLSA Letter. This became known
     by and affected a group of Black students who learned about them. Your reactions to
     minority students’ expressions of extreme disappointment in the exam question
     demonstrated racial insensitivity and even hostility to those voicing concerns about a
     racially-charged topic.

     1 OAE notes that, although students raised concerns that the abbreviated reference to the N-word in an
     exam question was not relevant to the issue (the work product doctrine), OAE’s analysis does not hinge
     in any way on whether there may, or may not have been, legitimate pedagogical reasons for referencing
     the epithet in abbreviated fashion in the exam question.

                                                                              Page 3 of 4– Jason Kilborn
                                   Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 5 of 16 PageID #:26




                                        OAE notes that you candidly expressed regret for any distress your exam question may
                                        have caused students and, as verified by a recording of the January 23, 2020 class session,
                                        apologized for using the word “lynching” in class. Our review substantiated that your
                                        conduct, however, when considered in cumulative fashion, affected many Black students
                                        and substantially interfered with their participation in the University’s academic program.
                                        Many students found the racially-charged January 23, 2020 classroom session offensive,
                                        were also distraught by what was viewed as a racially insensitive exam question in
                                        December of 2020, and were then fearful of arguably retaliatory and threatening language
                                        in January 2021. This amplified the racial tensions from your prior conduct. Even hinting
                                        at physical violence in jest toward a student in reaction to written or spoken criticism is
                                        completely unacceptable; referencing the potential to become “homicidal” in response to
                                        communications criticizing your conduct on racial topics created race-related fear of
                                        physical safety or retaliation. Such fear was amplified by the timing of these developments
                                        in December 2020 and January 2021, when racial tensions in broader American society
                                        were uniquely prevalent. Significantly, you made the “homicidal” comment on January 7,
                                        only one day after violence at the United States Capitol Building, at a time when concerns
                                        over public safety were heightened nationwide.

                                        For these reasons, OAE has substantiated that conduct addressed herein (i) was perceived
                                        as offensive toward non-White people, (ii) was objectively offensive (particularly because
                                        of your overtly intimidating and threatening reactions to student-voiced criticism of your
                                        racially-charged comments and exam question), (iii) took an emotional toll on non-White
                                        students, faculty, and supporters of the non-White students who felt threatened, and (iv)
                                        interfered with non-White students’ learning experiences at UIC JMLS. By a
                                        preponderance of the evidence, OAE has therefore substantiated conduct on your part that
                                        was harassing based on race and constitutes a violation of the Policy.

                                        Please note that we expect compliance with OAE Policy 1100-003, Prohibition of
                                        Retaliation Following Claims of Unlawful Discrimination.

                                        Sincerely,




                                        Donald Kamm
                                        OAE Director and Title IX Coordinator

                                        cc: Caryn Bills, Associate Chancellor
                                            Ashley Davidson, Title IX and Equity Compliance Specialist
                                            Darby Dickerson, UIC JMLS Dean and Professor




                                                                                                             Page 4 of 4– Jason Kilborn



Powered by TCPDF (www.tcpdf.org)
   Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 6 of 16 PageID #:27




       True transcript of class recording, Civil Procedure II, January 23, 2020



The fact that other plaintiffs see that one other plaintiff lost isn’t a disincentive. If
it were, frivolous litigation would have ended long ago, because lots of plaintiffs
have been pushed to the wall and lost. You don’t hear about those stories in the
media. You hear about idiot people winning $1 million verdict against Subway for
having 11.5”-long sandwiches. That’s what makes the press, right, that Subway
lost. Not that they win against this ridiculously frivolous case. That wasn’t in the
media, only in the legal media, maybe, if you were paying attention. And that’s the
problem. If they win, no one hears about this. They only hear about it if they lose,
and God forbid that, then all the cockroaches come out of the walls, they’re
thinking, right?




                                     EXHIBIT “B”
             Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 7 of 16 PageID #:28


Kilborn, Jason J

From:
Sent:                              Thursday, January 23, 2020 3:33 PM
To:                                Kilborn, Jason
Subject:                           RE: Class 1.23.2020


Agreed.

The topic of inbedded biasness within the legal system alone is quite challenging to discuss, I would imagine, particularly
in front of a classroom full of analytical thinkers. In my opinion, your practical and scholastic approach to instruction of
Civil Procedure is well balanced.

I look forward to the semester.

Best,


On Jan 23, 2020 3:18 PM, "Kilborn, Jason" <jkilborn@jmls.edu> wrote:

 The love was quite welcome ... as was the respectful dissent. :-)




 I don’t think we so much disagree with each other as were, perhaps, talking about slightly different things. I don’t mean
 to be heard as saying that my description of how Citi likely would react, how Swanson and her lawyer might react, or the
 incidence of patently frivolous litigation is a factual, universally applicable assessment of that case or the
 world. Generalization is not necessarily negative; it’s inevitable when we’re talking about assessing an unknown
 situation, discounting future likelihood, and helping a corporate defendant to assess a litigation scenario. What I hope
 you understand is that my job is to prepare you to understand the litigation mindset of your clients (or opponents), many
 of whom are likely to be business people, who HAVE to base their assessments on statistical likelihoods (i.e.,
 generalizations) and predictions about outcomes. My 25-ish years as a law clerk, lawyer, and now law professor have
 exposed me to enough of these kinds of scenarios that my perspective, while not universal, fairly confidently represents
 the “norm”; that is, the most likely situation. Might this case have been different—absolutely. But again, we always have
 to responsibly generalize when making future predictions, which is one reason why those predictions are so often
 inaccurate, but companies like Citi can’t take the chance of being the headline grabbing normal casualty of a litigation
 system and society with lots of fairly consistent problems.




 Dissent away! And reminding me that it’s not personal, and you’re not attacking me or my view, just expressing an
 opposing viewpoint, is nice. I am sometimes a bit fragile, and standing in front of a room of smart people talking about
 tough issues makes one quite vulnerable.




 Cheers!




 Jason Kilborn

 Professor of Law

                                                             1
                                                                                                    EXHIBIT "C"
                                 Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 8 of 16 PageID #:29
UIC John Marshall Law School

The University of Illinois at Chicago

300 S. State St.

Chicago, IL 60604

+1 (312) 386-2860

jkilborn (at) uic.edu

    The link ed image cannot
    be d isplay ed. The file
    may hav e been mov ed,
    ren amed, or deleted.
    Verify that the link
    points to the correct file
    and location.




From:
Sent: Thursday, January 23, 2020 3:07 PM
To: Kilborn, Jason <jkilborn@jmls.edu>
Subject: Class 1.23.2020



Professor Kilborn,



Great discussion in class today. My intention was to "respectfully dissent" rather than say "I love you" before
dissenting.



I was just showing my respect to you though I disagreed with that part of the discussion and I hope it did not come off
as offensive.



Have a great weekend.



Best,




                                                                      2
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 9 of 16 PageID #:30




                                EXHIBIT "D"
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 10 of 16 PageID #:31
     Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 11 of 16 PageID #:32




July 2, 2021


Dear Professor Kilborn,
Thank you for meeting with Associate Dean for Faculty Affairs McMurtry-Chubb and me on
June 18, 2021 to discuss the Law School’s response to the May 28, 2021 letter from the
Office for Access and Equity (OAE) conveying the results of its investigation to you. The
conclusions reached by OAE indicate a need on the Law School’s part to pursue the
following course of action, which involves both (a) requirements intended to address OAE's
substantiation of conduct constituting a violation of Policy 1100-004, Nondiscrimination
Statement (“Policy”) of the University of Illinois Chicago (“Policy”) and (b)
recommendations intended to address the matters about which OAE did not substantiate
Policy violations but that I would like to address, going forward, in a collaborative, collegial
manner.

A.      Requirements:

     1. For the next 4 semesters that you are assigned to teach one or more classes at the
     Law School, if a student complains to you about a class session or an interaction with
     you and alleges racial or ethnic harassment or similar conduct, you should immediately
     report that matter to the Dean or Dean’s designee before you respond to the student,
     individually, or to the class as a whole. This process is intended to provide the Law
     School and University with the opportunity to work with you to help you prepare an
     appropriate response and/or develop other steps to resolve the situation in a
     collaborative fashion. At the end of these 4 semesters, the Dean will determine whether
     this process should be extended, and if so, for how long.

     2. For the next 4 semesters that you are assigned to teach one or more classes at the
     Law School, your class sessions will be audio-recorded and the Law School will also
     exercise oversight by reviewing these audio recordings to help foster a non-
     discriminatory, non-harassing classroom environment. The Dean will assign one or
     more appropriate faculty members to perform this oversight. The Dean or Dean’s
     designee will address any matters of concern that are observed in any such class
     session recordings with you as soon as is practicable. At the end of these 4 semesters,
     the Dean will determine whether this oversight should continue, and if so, for how long.




                                         EXHIBIT "E"
     Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 12 of 16 PageID #:33




     3. At the conclusion of the second semester in which you are assigned to teach one or
     more classes at the Law School, if the Dean concludes that by virtue of your actions and
     conduct, you have not effectively maintained a non-discriminatory, non-harassing
     classroom environment, you will complete a training program designed and
     administered by Vantage Solutions LLC. The goal of the training will be to ensure that
     you appreciate the importance of your position including your voice and authority in
     the classroom and when assessing students, and how your words and actions impact
     others. You will be deemed to have completed the training program when Vantage
     Solutions provides a written report to the Law School indicating that you have (1)
     engaged constructively in action planning and identified what you will do differently in
     class, on assessments, and when otherwise interacting with students orally and in
     writing; and (2) developed the skills and tools to engage effectively with a diverse
     group of students on sensitive topics.

B.      Recommendations:

In addition to the three requirements above, during our meeting on June 18, 2021, we
discussed the following recommendations for collaborating and interacting to avert future
issues:

     1. I strongly encourage you to submit any written assessment that will include content
     involving issues of race or ethnicity ("assessment" meaning a graded examination, quiz,
     or written assignment) to the Dean, the Dean’s designee, or one of your trusted
     colleagues and engage in a consultation about the proposed assessment before you
     administer the assessment to students. While I appreciate that you have voluntarily
     committed not to use the specific hypothetical that was reviewed during the OAE
     investigation, this proposed consultation process could offer insight about whether
     other content is pedagogically appropriate and wise to use going forward. I hope that
     you will take advantage of this offer to interact and collaborate—and do so as far in
     advance as possible before you plan to use the assessment. Please know that, if you do
     consult with the Dean or Dean’s designee, the review would be for the limited purpose
     of identifying any issues or potential issues related to race or ethnicity. If consulted, the
     Dean or Dean’s designee will communicate any concerns to you, and I would hope you
     would seek to address the concerns before the assessment is due or administered. As a
     faculty member, you would retain discretion about the content of the written
     assessments.

     2. I strongly encourage you to use this same approach and communicate with the Dean
     or Dean's designee before (a) using grade bumps or communicating with students
     about grade bumps in your syllabus language or other student communications or (b)
   Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 13 of 16 PageID #:34




    determining that a student is not entitled to continue with your course. This process
    would be intended to avert future issues and address potential process or
    communication issues that concern diversity, equity, or inclusion in the highly charged
    contexts of student grading and continuation. I hope that you will take advantage of this
    offer to interact and collaborate and do so as far in advance as possible before the time
    you would hope to use the grade bump policy or initiate the dismissal in question.
    Please know that, if you do consult with the Dean or Dean’s designee, the consultation
    would be for the limited purpose of identifying any issues or potential issues related to
    diversity, equity, or inclusion. If consulted, the Dean or Dean’s designee will
    communicate any concerns to you, and I would hope you would seek to address such
    concerns before any grade bump policy or dismissal is implemented. As a faculty
    member, you would retain discretion about such issues.
    3. Finally, I strongly encourage you to begin immediate participation in the small-
    group study sessions designed by the Law School Faculty Committee for Diversity,
    Inclusion, and Campus Climate. The Committee assigned you to a group; you may join
    the group at any point. All faculty have access to the Box folder with reading and
    viewing materials.


Sincerely,



__________________________________________
Interim Dean Julie Spanbauer



I acknowledge that I received a copy of this letter and understand the requirements and
recommendations herein.


___________________________________________
Professor signature

_____________________________
Date
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 14 of 16 PageID #:35




                                EXHIBIT "F"
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 15 of 16 PageID #:36
Case: 1:22-cv-00475 Document #: 1-1 Filed: 01/27/22 Page 16 of 16 PageID #:37




                                EXHIBIT "G"
